48 F.3d 1237NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.
    Alfonso Y. RAGUINE, Petitioner,v.OFFICE OF PERSONNEL MANAGEMENT, Respondent.
    No. 95-3131.
    United States Court of Appeals, Federal Circuit.
    Feb. 16, 1995.
    
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      65 M.S.P.R. 406.
    
    
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      DISMISSED.
    
    ORDER
    
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      The petitioner having failed to file the brief required by Federal Circuit Rule 31.  (a) within the time permitted by the rules, it is
    
    
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      ORDERED that the petition for review be, and the same hereby is, DISMISSED, for failure to prosecute in accordance with the rules.
    
    